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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION


STONE WORKS, LLC                                                      PLAINTIFF

vs.                               NO. 4:21-CV-941

RANDY SIMS;
MEGAN SIMS;
WILLIAM THOMAS;
STONE CONCEPTS, LLC;
MARTY HESCH;
EDWARD FRALEY                                                       DEFENDANTS

DEFENDANTS MARTY HESCH AND STONE CONCEPTS, LLC RESPONSE
     TO PLAINTIFF’S MOTION TO EXPEDITE DISCOVERY AND
                    INCORPORATED BRIEF

      Defendants Stone Concepts, LLC, and Marty Hesch, by and through their

attorneys, McDaniel, Wolff, & Benca PLLC, state for their Response to Plaintiff’s

Motion to Expedite Discovery and Incorporated Brief:

      Plaintiff hinges its request for expedited discovery on an undefined ongoing

irreparable harm. The motion gives no insight as to what this claimed ongoing

irreparable harm is. As to Stone Concepts, LLC and Marty Hesch, no such harm

exists. The Pulaski County Circuit Court entered an agreed Temporary Restraining

Order on October 8, 2021. Defendants Hesch and Stone Concepts, LLC, have

complied with this Order since its entry. By agreeing to this order, Plaintiff agreed

that it would halt whatever irreparable harm it believed it was suffering. Plaintiff’s

motion for expedited discovery alleges no facts suggesting that any of the alleged

irreparable harm has restarted or that some new unanticipated irreparable harm

has begun. Defendants object to Plaintiff’s Motion to Expedite Discovery.

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      Plaintiff’s primary claims against these Defendants center on their

employment of Defendants Randy and Megan Sims and William Thomas.

Defendants never employed Defendant Thomas. He was an independent contractor

who services Defendants stopped using in September 2021. Defendants also

released Defendants Randy and Megan Sims from employment at the end of

October, 2021. Accordingly, there is no possibility of ongoing irreparable harm as to

Defendants Stone Concepts, LLC, and Hesch. And, Plaintiff’s motion does not raise

any such possibility.

      The Court has entered an Initial Scheduling Order. Defendants Hesch and

Stone Concepts, LLC, will abide by that order. Discovery will begin in due course.

This case can be effectively managed under the normal civil process.

      WHEREFORE, Defendants Stone Concepts, LLC, and Marty Hesch

respectfully request that the Plaintiff’s Motion to Expedite Discovery be denied,

that they be awarded their attorney’s fees and costs, and that they be granted all

other relief to which they are entitled.

                                           Respectfully submitted,

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                           Attorneys for Defendants Stone Concepts,
                           LLC, and Marty Hesch




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